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    8                      UNITED STATES DISTRICT COURT
    9                    CENTRAL DISTRICT OF CALIFORNIA
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        BRYCE ABBINK,                        Case No. 8:19-cv-01257-JFW-PJWx
   12
                      Plaintiffs,            Hon. John F. Walter
   13
             v.                              [PROPOSED] ORDER GRANTING
                                             MOTION TO DISMISS PLAINTIFF’S
   14
        EXPERIAN INFORMATION                 COMPLAINT BY DEFENDANT
        SOLUTIONS, INC., et al.,             EXPERIAN INFORMATION
   15                                        SOLUTIONS, INC.
   16                 Defendants.

   17                                        Complaint filed: June 21, 2019
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                                                             [PROPOSED] ORDER GRANTING
                                                                         MOTION TO DIMSISS
                                                             Case No. 8:19-cv-01257-JFW-PJWx
Case 8:19-cv-01257-JFW-PJW Document 25-5 Filed 08/14/19 Page 2 of 2 Page ID #:140



    1                                [PROPOSED] ORDER
    2         Defendant Experian Information Solutions, Inc. (“Experian”) moved the Court
    3   for an order dismissing the causes of action asserted against them in the complaint.
    4   Having considered the moving papers, the pleadings, and the arguments advances by
    5   the parties, the Court hereby GRANTS Experian’s Motion to Dismiss Plaintiff’s
    6   Complaint with prejudice.
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    8   IT IS SO ORDERED.
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   10   Date: ___________________                    ______________________________
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                                                     Hon. John F. Walter
                                                     United States District Judge
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   28                                                              [PROPOSED] ORDER GRANTING
                                                                               MOTION TO DISMISS
                                               -2-                 Case No. 8:19-cv-01257-JFW-PJWx
